Case 1:07-cr-00061-JAW Document 107 Filed 04/02/08 Page 1 of 3                      PageID #: 229




                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE



UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               ) Criminal No. 07-61-B-W-02
                                                 )
ROBERTO RODRIGUEZ,                               )
                                                 )
                       Defendant                 )


                         ORDER OF REVOCATION AND DETENTION


       In accordance with the Bail Reform Act, 18 U.S.C. § 3148(b)(1)-(2), a hearing on

revocation and detention was held on Tuesday, April 01, 2008, at 12 noon on the government’s

motion to revoke release of Defendant Roberto Rodriguez in the above matter. Magistrate Judge

Kravchuck issued an Order Setting Conditions of Release on October 1, 2007, and amended it on

February 13, 2008. Defendant is currently on bail awaiting trial these charges.

       Based upon the evidence presented at the hearing I found clear and convincing evidence

that the defendant has violated the amended conditions of his release, condition 7(k), by refusing

to obtain mental health treatment and counseling to the satisfaction of pretrial services. The

refusal occurred in the context of Rodriguez being advised that he had to remain in the hospital

as an inpatient following an incident relating to his ingestion of substances in a gesture aimed at

ending his own life. Rodriguez refused to comply with treatment and according to the Rhode

Island pretrial services officer who was supervising the release conditions, hospital officials were

forced to temporarily civilly commit him in order to obtain mental health treatment. I find this to

have been a violation of his pretrial release.
Case 1:07-cr-00061-JAW Document 107 Filed 04/02/08 Page 2 of 3                        PageID #: 230




       At the hearing the Government also alleged, for the first time, that defendant had violated

condition 7(p) because he had unlawfully used a controlled substance. This allegation was based

upon hearsay information conveyed this morning from defendant’s girlfriend to Officer Pletcher

of Rhode Island pretrial services to Wade Maddox who testified at the hearing. According to

Maddox, Rodriguez’s suicide gesture had consisted of taking Benadryl pills along with cough

syrup with codeine. There is no evidence whether the Benadryl or the cough syrup is a

controlled substance or an over the counter medication. Furthermore, if it was prescription

cough syrup, it may have been properly prescribed to defendant. In my view there is simply a

lack of clear and convincing evidence that would support a finding of a violation as to this

second allegation.

       Nevertheless I have found the defendant violated condition # 7(k) as alleged in the

original motion to revoke pretrial release. This case is quite a difficult one because the defendant

has apparently been compliant with his conditions of release until he learned that the charges

now carry a 10 year mandatory minimum sentence. It was at the time he learned of the enhanced

penalty that he became more depressed and started to speak of suicide. While his suicide gesture

in this instance does not appear to have been one that had much likelihood of success, it does

reveal his current level of stress and agitation, understandably so, over the enhanced charges. If

the defendant pleads guilty or is convicted of these charges, he faces immediate imprisonment

pending sentencing. His trial is now scheduled for May 6, 2008. My concern is that based upon

recent events there is a greater likelihood that defendant will not appear as required for trial.

While it is this court’s obligation to impose the least restrictive available conditions, I do not

have available to me any conditions in addition to the ones I have already imposed and which


                                                   2
Case 1:07-cr-00061-JAW Document 107 Filed 04/02/08 Page 3 of 3                       PageID #: 231




have not been successful in eliminating a serious risk of nonappearance. Therefore, I believe that

I must order the defendant detained for the brief period between now and his trial date. I have

instructed pretrial services to monitor Rodriguez during this period and to attempt to assist his

custodians with any mental health treatment that might be available while incarcerated prior to

trial, including the services of an interpreter if necessary.

        Give these facts, I find that it is unlikely the Defendant will abide by any condition or

combination of conditions imposed by this court.

        It is therefore, ORDERED, that the conditions of release previously entered in the matter

be revoked. Defendant shall be detained pending trial.

        The Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The Defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of a court of the United States or on request of an attorney for the government, the person

in charge of the corrections facility shall deliver the Defendant to the United States Marshal for

the purpose of appearing in connection with a court proceeding.

        So Ordered.

        April 2, 2008

                                                        /s/ Margaret J. Kravchuk
                                                        U.S. Magistrate Judge




                                                   3
